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 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                            CASE NO. 1:21-CR-00012-JLT
11
                                   Plaintiff,             STIPULATION REGARDING EXCLUDABLE
12                                                        TIME PERIODS UNDER SPEEDY TRIAL ACT;
                            v.                            FINDINGS AND ORDER
13
     KELLY WALKER,                                        DATE: July 9, 2024
14                                                        TIME: 9:00 a.m.
                                  Defendant.              COURT: Hon. Jennifer L. Thurston
15

16
                                                  STIPULATION
17
            Plaintiff United States of America, by and through its counsel of record, and defendant, by and
18
     through defendant’s counsel of record, hereby stipulate as follows:
19
            1.      By previous order, this matter was set for jury trial on July 9, 2024.
20
            2.      By this stipulation, defendant now moves to continue the trial until March 25, 2025, and
21
     to exclude time between July 9, 2024, and March 25, 2025, under 18 U.S.C. § 3161(h)(7)(A), B(iv)
22
     [Local Code T4].
23
            3.      The parties agree and stipulate, and request that the Court find the following:
24
                    a)     The government has represented that the discovery associated with this case
25
            includes reports, photographs, and audio files. All of this discovery has been either produced
26
            directly to counsel and/or made available for inspection and copying.
27
                    b)     Counsel for defendant desires additional time to further review discovery, discuss
28
            potential resolution with his client and the government, and investigate and prepare for trial.

      STIPULATION REGARDING EXCLUDABLE TIME               1
30    PERIODS UNDER SPEEDY TRIAL ACT
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 1                   c)      The parties believe that there will be a resolution in this matter and request further

 2           time to discuss and prepare for such resolution.

 3                   d)      Counsel for the government has been engaged in a complex multi-month trial

 4           which reached a verdict the week of June 17, 2024, and requests time to further prepare for trial

 5           in this matter, if there is no resolution.

 6                   e)      Counsel for defendant is bringing co-counsel in starting July 2024 and thus,

 7           requests additional time to get co-counsel up to speed on this matter.

 8                   f)      Counsel for defendant believes that failure to grant the above-requested

 9           continuance would deny him/her the reasonable time necessary for effective preparation, taking

10           into account the exercise of due diligence.

11                   g)      The parties will be prepared to discuss potential trial dates on the next date, as

12           defendant Villalobos only recently was arraigned on this matter and counsel for defendant

13           Villalobos needs time to review discovery, investigate, and further prepare for trial.

14                   h)      The government does not object to the continuance.

15                   i)      Based on the above-stated findings, the ends of justice served by continuing the

16           case as requested outweigh the interest of the public and the defendant in a trial within the

17           original date prescribed by the Speedy Trial Act.

18                   j)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

19           et seq., within which trial must commence, the time period of July 9, 2024 to March 25, 2025,

20           inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]

21           because it results from a continuance granted by the Court at defendant’s request on the basis of

22           the Court’s finding that the ends of justice served by taking such action outweigh the best interest

23           of the public and the defendant in a speedy trial.

24                   k)      The parties also agree that this continuance is necessary for several reasons,

25           including but not limited to, the need to permit time for the parties to exchange supplemental

26           discovery, engage in plea negotiations, and for the defense to continue its investigation and

27           preparation, pursuant to 18 U.S.C. § 3161(h)(7)(A) and 3161(h)(7)(B)(i) and (iv).

28 //

        STIPULATION REGARDING EXCLUDABLE TIME              2
30      PERIODS UNDER SPEEDY TRIAL ACT
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 1          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

 2 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

 3 must commence.

 4          IT IS SO STIPULATED.

 5
     Dated: June 21, 2024                                    PHILLIP A. TALBERT
 6                                                           United States Attorney
 7
                                                             /s/ STEPHANIE M. STOKMAN
 8                                                           STEPHANIE M. STOKMAN
                                                             Assistant United States Attorney
 9
10

11
     Dated: June 21, 2024                                    /s/ NICHOLAS CAPOZZI
12                                                           NICHOLAS CAPOZZI
13                                                           Counsel for Defendant
                                                             KELLY WALKER
14

15

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17
                                           FINDINGS AND ORDER
18
            IT IS SO FOUND.
19

20 IT IS SO ORDERED.
21      Dated:    June 21, 2024
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      STIPULATION REGARDING EXCLUDABLE TIME              3
30    PERIODS UNDER SPEEDY TRIAL ACT
